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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )
                                         )                     Case No. 10-cv-06800
                  v.                     )                     Judge: Hibbler
                                         )
THE STATE OF ILLINOIS;                   )
THE ILLINOIS STATE BOARD OF              )
ELECTIONS; and DANIEL WHITE,             )
Executive Director of the Illinois State )
Board of Elections,                      )
                                         )
                     Defendants.         )
______________________________________ )

                                      CONSENT DECREE

   Plaintiff United States of America initiated this action against the State of Illinois, the Illinois

State Board of Elections, and Daniel White, the Executive Director of the Illinois State Board of

Elections, in his official capacity (collectively, “Defendants”), to enforce the requirements of the

Uniformed and Overseas Citizens Absentee Voting Act (“UOCAVA”), 42 U.S.C. §§ 1973ff to

1973ff-7. The United States alleges violations of UOCAVA arising from the failure to (1)

transmit absentee ballots to absent uniformed services voters and overseas voters (“UOCAVA

voters”) from at least 35 Illinois counties by the 45th day before the November 2, 2010 Federal

general election; and (2) transmit absentee ballots by electronic means to some UOCAVA voters

who requested electronic delivery of their ballots. Absent corrective action, some UOCAVA

voters from Illinois will be denied the right granted by Federal law to receive their ballots

electronically and will not be provided the time specified under Federal law to receive, mark, and

submit their ballots in time to have those ballots counted in the November 2, 2010 Federal

general election.

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   The United States and Defendants, through their respective counsel, have conferred and

agree that this action should be settled without the delay and expense of litigation. The parties

share the goal of providing UOCAVA voters with sufficient opportunity under Federal law to

participate in the November 2, 2010 Federal general election. The parties have negotiated in

good faith and hereby agree to the entry of this Consent Decree as an appropriate resolution of

the UOCAVA violations alleged by the United States. Accordingly, the United States and

Defendants stipulate and agree that:

   1. This action is brought by the U.S. Attorney General on behalf of the United States

pursuant to UOCAVA, as amended by the Military and Overseas Voter Empowerment Act, Pub.

L. No. 111-84, Subtitle H, §§ 575-589, 123 Stat. 2190, 2318-2335 (2009) (“MOVE Act”).

UOCAVA provides that UOCAVA voters shall be permitted “to use absentee registration

procedures and to vote by absentee ballot in general, special, primary, and runoff elections for

Federal office.” 42 U.S.C. § 1973ff-1.

   2. The U.S. Attorney General is authorized to enforce the provisions of UOCAVA, 42

U.S.C. § 1973ff-4, and this Court has jurisdiction of this action pursuant to 42 U.S.C. § 1973ff-4

and 28 U.S.C. §§ 1345 and 2201.

   3. UOCAVA requires the State of Illinois (and therefore, by operation of state law, each of

its 110 election authorities, which administer the State’s election laws in their respective

jurisdictions) to comply with UOCAVA and to ensure that validly requested absentee ballots are

transmitted to UOCAVA voters in accordance with the statute’s requirements. 42 U.S.C. §§

1973ff-1 & 1973ff-6. Defendant Illinois State Board of Elections (“Board”) is the state body

with general supervisory powers over the administration of election laws in Illinois and is

comprised of eight members appointed by the Governor. 10 ILCS 5/1A-1. Election authorities



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are the elected offices of the county clerk or a Board of Election Commissioners, which is

appointed by the Circuit Court in the respective jurisdictions and are responsible for the conduct

of the elections, including the administration of absentee voting in their respective jurisdictions.

10 ILCS 5/1-1 et seq. Daniel White is the Executive Director of the Illinois State Board of

Elections and is sued in his official capacity.

   4. Pursuant to amendments made by the MOVE Act, Section 102(a)(8)(A) of UOCAVA

requires that states transmit validly requested ballots to UOCAVA voters not later than 45 days

before an election for Federal office when the request is received at least 45 days before the

election, unless a hardship exemption is obtained pursuant to Section 102(g) of UOCAVA. 42

U.S.C. § 1973ff-1(a)(8)(A). Illinois did not seek or obtain a hardship exemption for the

November 2, 2010 election.

   5. Illinois election authorities received requests for absentee ballots on or before the 45th day

prior to the November 2, 2010 Federal general election from voters who are entitled to vote

pursuant to the provisions of UOCAVA.

   6. The deadline for transmission of absentee ballots to UOCAVA voters who had requested

them at least 45 days before the November 2, 2010 general election for Federal office was

September 18, 2010.

   7. Under Illinois law, ballots from UOCAVA voters postmarked by midnight on the day

before the election will be counted if received by the 14th day following election day. See 10 Ill.

Comp. Stat. 5/20-2; 10 Ill. Comp. Stat. 5/20-2.1. For the November 2, 2010 Federal general

election, ballots from UOCAVA voters must be postmarked by November 1, 2010 and received

by November 16, 2010 in order to be counted.




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   8. Election authorities in at least 35 Illinois election jurisdictions did not transmit ballots by

September 18, 2010 to the UOCAVA voters in those election jurisdictions who requested ballots

by that date. Three counties (Boone, Jersey, and St. Clair) transmitted ballots to such voters on

October 4, 2010, 16 days late. Two counties (Hancock and Schuyler) transmitted ballots to such

voters on October 5, 2010, 17 days late. One county (Massac) transmitted ballots to such voters

on October 8, 2010, 20 days late. The other 29 counties transmitted ballots to such voters

between 2 and 12 days late; between September 20 and September 30, 2010.

   9. The failure to transmit absentee ballots to UOCAVA voters who requested them by the

45th day before the November 2, 2010 Federal general election (September 18, 2010),

constitutes a violation of Section 102(a)(8)(A) of UOCAVA, 42 U.S.C. § 1973ff-1(a)(8)(A).

   10. Pursuant to amendments made by the MOVE Act, UOCAVA requires that states permit

UOCAVA voters to designate whether they prefer their ballots to be transmitted by mail or

electronically and then to transmit ballots according to the voter’s preferred method. 42 U.S.C.

§§ 1973ff-1(a)(7), 1973ff-1(f)(1).

   11. Some Illinois election authorities did not transmit absentee ballots by electronic means to

UOCAVA voters who timely requested electronic delivery of their ballots, and instead sent such

ballots to voters by postal mail. Accordingly, some Illinois UOCAVA voters have not yet

received absentee ballots electronically for the November 2, 2010 Federal general election.

   12. The failure to transmit absentee ballots to UOCAVA voters in accordance with the

voters’ requested method of electronic delivery for the November 2, 2010 Federal general

election constitutes a violation of Sections 102(a)(7) and 102(f)(1) of UOCAVA. 42 U.S.C.

§§ 1973ff-1(a)(7), 1973ff-1(f)(1).




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   13. To ensure that Illinois’s UOCAVA voters will have sufficient opportunity under federal

law to receive the absentee ballots they have requested (and by the delivery method requested),

and to submit marked absentee ballots in time to be counted for the November 2, 2010 Federal

general election, the parties agree that this Court should enter an order that (a) requires that all

UOCAVA voters who properly requested but did not receive transmission of their ballots

electronically be provided that opportunity immediately, (b) extends the deadline for receipt of

ballots for UOCAVA voters in Boone, Jersey, and St. Clair Counties to November 18, 2010, and

for UOCAVA voters in Hancock, Massac, and Schuyler Counties to November 19, 2010; and (c)

extends the deadline by which ballots must be postmarked in order to be counted to November 2,

2010 for Boone, Jersey, St. Clair, Hancock, Massac, and Schuyler counties.

   14. The parties reserve the right to modify this agreement as necessary, and to seek additional

supplemental relief, if information regarding additional UOCAVA violations is discovered.

       WHEREFORE, the parties having given their consent, and the terms of the Decree being

   fair, reasonable, and consistent with the requirements of UOCAVA, it is hereby ORDERED,

   ADJUDGED, and DECREED by the Court that:

               (1) Defendants shall, upon entry of this decree, order the pertinent election

                   authorities to ensure that all UOCAVA voters who requested to

                   receive their ballots electronically for the November 2, 2010 Federal

                   general election are transmitted their ballot immediately, within one

                   business day of entry of this decree, by the requested electronic

                   method. The information provided with the ballot shall include

                   appropriate instructions explaining the ballot return deadlines and the




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            option and procedures for returning the ballot in order for it to be

            counted, including the procedures adopted in paragraph (2) below.

         (2) To ensure that UOCAVA voters who return multiple ballots (by virtue

            of having received a ballot by mail and electronically) will have their

            ballot counted, Defendants shall order election authorities to count the

            ballot that was mailed to the voter. Defendants shall order election

            authorities to notify all affected UOCAVA voters of this procedure.

         (3) To ensure that Illinois’s UOCAVA voters will have sufficient

            opportunity under Federal law to receive absentee ballots they have

            requested, and to submit marked absentee ballots in time to be counted

            for the November 2, 2010 Federal general election, Defendants shall

            order election authorities to count as validly cast ballots in the

            November 2, 2010 Federal general election all ballots, including

            Federal Write-In Absentee Ballots, (a) cast by UOCAVA voters from

            Boone, Jersey, and St. Clair Counties, provided such ballots are

            postmarked on or before November 2, 2010, received by November

            18, 2010, and are otherwise valid; and (b) cast by UOCAVA voters

            from Hancock, Massac, and Schuyler Counties, provided such ballots

            are postmarked on or before November 2, 2010, received by

            November 19, 2010, and are otherwise valid;

         (4) Defendants shall order Massac County’s election authority to contact

            each of Massac County’s UOCAVA voters who has not yet returned




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            his or her ballot and provide those voters with a pre-paid, express

            means of returning their ballots.

         (5) Upon entry of the decree, Defendants shall order all Illinois election

            authorities to certify that they transmitted ballots to all qualified

            UOCAVA voters in accordance with UOCAVA’s terms.

            a)    Should Defendants learn that any additional properly and timely

                  requested UOCAVA ballot for the November 2, 2010 Federal

                  general election was not transmitted, they shall immediately

                  order the election authority in question to transmit the ballot to

                  the UOCAVA voter electronically or by express mail delivery

                  (as the voter chooses) and ensure that the voter is provided a pre-

                  paid, express method of returning the ballot. Defendants shall

                  order the election authorities to ensure that these ballots are

                  counted as validly cast ballots in the November 2, 2010 Federal

                  general election, provided such ballots are postmarked on or

                  before November 2, 2010, received by November 19, 2010, and

                  are otherwise valid; and

            b)    Should Defendants learn that any additional properly and timely

                  requested UOCAVA ballot for the November 2, 2010 Federal

                  general election was transmitted after October 6, 2010, and was

                  transmitted more than two days after the request, they shall order

                  the election authority to immediately contact the voter to offer

                  them a pre-paid, express method of returning the ballot.



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                  Defendants shall order the election authorities to ensure that

                  these ballots are counted as validly cast ballots in the November

                  2, 2010 Federal general election, provided such ballots are

                  postmarked on or before November 2, 2010, received by

                  November 19, 2010, and are otherwise valid.

            Defendants shall promptly notify counsel for the United States of any

            actions taken in accordance with this paragraph.

         (6) For purposes of this Decree, postmark shall include the date contained

            on the express mail delivery packaging for ballots returned by express

            mail delivery (or absent a postmark, the date inserted on the

            certification, as provided in 10 ILCS 5/20-8(c)).

         (7) To provide an opportunity for UOCAVA voters to learn of this Court’s

            order, upon the entry of this Consent Decree, Defendants shall (a)

            order the election authorities to notify by email, telephone, or fax all

            affected voters in Boone, Jersey, St. Clair, Hancock, Massac, and

            Schuyler Counties for whom they have such contact information of the

            appropriate deadline and procedures for returning their ballots; and (b)

            issue for immediate release a press statement, agreed upon by the

            parties and filed with this Court within one day of entry of this order.

            Defendants shall post the release immediately on Illinois’s State Board

            of Elections website and order the election authorities to post it on

            each of the affected county websites, if maintained by such county.

            Defendants shall distribute the release to the Federal Voting



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            Assistance Program; International Herald Tribune

            (http://www.iht.com); USA Today International

            (http://www.usatoday.com); Military Times Media Group

            (cvinch@militarytimes.com); Overseas Vote Foundation

            (http://www.overseasvotefoundation.org/intro/); Stars and Stripes

            (www.estripes.com); and any other Illinois newspaper or news media

            Defendants choose.

         (8) Defendants shall order the affected election authorities to provide a

            written certification to the Board that all absentee ballots validly

            requested by UOCAVA voters by October 3, 2010 have been

            transmitted by the method the voter requested; such certification shall

            be provided no later than three business days after the entry of this

            order. Defendants shall order each election authority to include, in its

            certification: (a) the number of UOCAVA absentee ballot requests

            received by September 18, 2010, between September 19, 2010 and

            October 3, 2010, and between October 3, 2010 and the date each

            county completed transmitting those ballots; (b) the number of

            UOCAVA absentee ballot requests, by the requested method of

            transmittal, for all UOCAVA absentee ballot requests received prior to

            the date each county completed transmitting those ballots; and (c) by

            date, the number of UOCAVA ballots transmitted and the method of

            transmittal thereof. The Board shall file such certifications with this

            Court within 4 business day after entry of this order.



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         (9) No later than 3 business days after entry of this order, the Board shall

            order the affected election authorities to provide written certification to

            the Board indicating (a) when and by what means the UOCAVA

            voters were given notice of the extension of the receipt deadline for

            their ballots, and (b) when and by what means the UOCAVA voters in

            Massac County were provided with a pre-paid, express means of

            returning their ballots. The Board shall file such certifications with

            this Court no later than 4 business day after entry of this order.

         (10)    Defendants shall order the election authorities to provide the

            Board, by no later than December 10, 2010, written certification of the

            following information, categorized by uniformed services overseas

            voters, uniformed services voters within the United States, and

            overseas civilian voters:

                a.      The number of absentee ballots from UOCAVA voters

                received by each election jurisdiction before the close of the

                polls on November 2, 2010 and counted;

                b.      The number of absentee ballots from UOCAVA voters

                received by each election jurisdiction after the close of polls on

                November 2, 2010, but prior to the close of business on

                November 16, 2010 and counted;

                c.      The number of absentee ballots from the affected

                UOCAVA voters in Boone, Jersey, and St. Clair Counties

                received and counted after the expiration of the deadline for



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                receipt of absentee ballots on November 16, 2010 but prior to

                the close of business on November 18, 2010, broken down by

                county;

                d.     The number of absentee ballots from the affected

                UOCAVA voters in Hancock, Massac, and Schuyler Counties

                received and counted after the expiration of the deadline for

                receipt of absentee ballots on November 16, 2010 but prior to

                the close of business on November 19, 2010, broken down by

                county;

                e.     The number of absentee ballots from the affected

                UOCAVA voters in Boone, Jersey, and St. Clair Counties

                received by each county later than the close of business on

                November 18, 2010;

                f.     The number of absentee ballots from the affected

                UOCAVA voters in Hancock, Massac, and Schuyler Counties

                received by each county later than the close of business on

                November 19, 2010;

                g.     The number of absentee ballots from UOCAVA voters

                received by each election jurisdiction that were not counted in

                the general election for Federal office, for reasons other than

                late receipt, and the reasons such ballots were not counted.

            The Board shall file such certifications with this Court by

            December 17, 2010.



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         (11)   The Defendants shall take all reasonable steps necessary to

            provide UOCAVA voters a fair and reasonable opportunity to

            participate in future Federal elections, including ordering the

            election authorities to alter their election practices. The Defendants

            shall undertake an investigation to determine the cause of the

            violation of UOCAVA, which may include ordering the election

            authorities to determine the cause of the late mailed ballots and

            failure to transmit ballots electronically in accordance with

            UOCAVA voters’ requests, and report such findings to the Board.

            The Defendants shall take any administrative or other actions,

            including recommending legislation, needed to prevent future

            UOCAVA violations. The parties shall confer on the progress of

            these efforts and Defendants shall provide a status report to the

            United States by March 15, 2011.

         (12)   The Election Assistance Commission having advised

            Defendants that it is permissible to use funds available from the

            Federal Help America Vote Act to pay for postage costs associated

            with express mail delivery of UOCAVA ballots, the State Board of

            Elections shall use such funds for that purpose.

         (13)   The Defendants shall take all reasonable steps necessary to

            ensure that Illinois election authorities comply with the

            requirements of this Consent Decree, including formal and




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                   informal follow-up action and directives and any necessary legal

                   action.

               (14)    In the event an election authority fails to comply with any

                   requirement of this Consent Decree, including any required Board

                   order, any party may seek relief from this Court to compel

                   compliance by the election authorities and any other relief deemed

                   appropriate.

               (15)    Nothing in this consent decree shall be construed to amend or

                   modify the order entered by the U.S. District Court, Northern

                   District of Illinois on August 2, 2010 in Judge v. Quinn, No. 09 C

                   1231.

       The Court shall retain jurisdiction over this action through December 31, 2012 to enter

such further relief as may be necessary for the effectuation of the terms of this Consent Decree

and to enter such relief as may be necessary to abate any UOCAVA violation with respect to

future Federal elections.




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